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12
13                         UNITED STATES DISTRICT COURT
14                        CENTRAL DISTRICT OF CALIFORNIA
15
16   CALIFORNIA GROCERS ASSOCIATION,                   Case No.
     a California non-profit organization,
17
                        Plaintiff,
18                                                     COMPLAINT FOR
            v.                                         DECLARATORY AND
19                                                     INJUNCTIVE RELIEF
     CITY OF LONG BEACH, a charter
20   municipality,
21                      Defendant.
22
23
24          Plaintiff California Grocers Association (“Plaintiff” or “CGA”) brings this
25   action against Defendant City of Long Beach (“Defendant” or “City”) and alleges
26   as follows in this Complaint for declaratory and injunctive relief:
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28
                                               1
                      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1                                       INTRODUCTION
 2                1.      At the onset of the COVID-19 pandemic, the State of California
 3   and various counties, cities, and other regulatory bodies throughout the state issued
 4   a series of emergency orders and regulations in an effort to stem the spread of the
 5   virus and protect the public health and welfare. These early efforts—aimed at
 6   balancing the public’s basic economic and social needs with a desire to minimize
 7   COVID morbidity and mortality—came at a steep price, especially for essential
 8   businesses, and the millions of employees and members of the public who rely on
 9   them.
10                2.      California grocers have stayed open to serve their communities
11   since day one. They understand that defeating this pandemic requires extraordinary
12   measures and have eagerly committed themselves to the task. Since March of 2020,
13   California grocers of all sizes have established rigorous and science-driven safety
14   measures, often at great expense, to adapt to this new environment and ensure that
15   they operate in a safe and hygienic manner in order to help slow the spread of the
16   virus, and protect their workers and the public.
17                3.      Grocers have implemented comprehensive safety measures for
18   customers and employees and compensated frontline grocery employees for their
19   extra efforts in a difficult environment. Grocers have provided “appreciation pay,”
20   “hero bonuses,” and “thank you pay” to reward their associates. Additionally, in
21   terms of employee support, grocers have offered COVID-19 testing to employees
22   and provided emergency leave and paid time off to those affected by the virus or
23   experiencing symptoms.
24                4.      For worker safety, grocers have provided supplies to employees
25   including face masks and protective gear in addition to encouraging employees to
26   stay home if feeling ill and implementing paid leave policies. Plexiglas shields,
27   physical distancing measures, and contactless payment and delivery services have
28   been implemented to protect employees. Some of California’s largest grocers such
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 1   as Kroger and Albertsons joined the United Food and Commercial Workers
 2   International union just last year to urge federal and state governments to designate
 3   grocery store employees as emergency first responders.
 4                5.      Yet on January 19, 2021, the City passed the “Premium Pay for
 5   Grocery Workers Ordinance” (“Ordinance”) which requires employers to pay a $4
 6   per hour premium on whatever the employees existing wage is at the time of
 7   enactment, regardless of any existing bonus, incentive, or hero pay program that the
 8   employer may have in place.1
 9                6.      The Ordinance unreasonably singles out specific employee classes
10   in specific grocers, while ignoring employers or essential frontline workers outside
11   the grocery industry. Plaintiff seeks a declaration that the law is invalid and
12   unconstitutional, and an injunction halting any action to enforce the Ordinance on
13   the grounds that it (1) is preempted by federal law regulating collective bargaining
14   and unfair labor practices; (2) violates the equal protection and contracts clauses of
15   the U.S. and California constitutions.
16                                 JURISDICTION AND VENUE
17                7.      This Court has jurisdiction over the subject matter of this suit
18   pursuant to 28 U.S.C. §1331, as the Plaintiffs’ claims arise under federal laws;
19   namely, the National Labor Relations Act, 29 U.S.C. §141 et seq.; Article VI of the
20   U.S. Constitution which designates the Constitution and Laws of the United States
21   as the supreme law of the land; and the equal protection clause and contracts clause
22   of the U.S. Constitution.
23
24          1
              While the Ordinance is designated as an emergency ordinance, the Council
25   failed to conduct a separate roll call on the emergency as required by the Long
     Beach City Charter sec. 211 and Cal. Gov’t Code §36937(b)(allowing immediate
26   effect for “the immediate preservation of the public peace, health or safety”). The
27   Council attempted to enact the Ordinance as both an emergency and regular
     ordinance simultaneously, creating significant confusion as to its effective date.
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 1                8.      This Court has supplemental jurisdiction over this subject matter
 2   pursuant to 28 U.S.C. §1367(a), as the Plaintiffs’ claims arising under the
 3   California Constitution are so closely related to the federal question claims that they
 4   form part of the same case or controversy under Article III of the U.S. Constitution.
 5                9.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), as
 6   this Court is sited in the federal judicial district where the events giving rise to the
 7   CGA’s claims have occurred, are now occurring, and will occur in the future if not
 8   prevented through actions of this Court. CGA’s members are situated in this district
 9   and are and will continue to be adversely affected by the irreparable harms sought
10   to be remedied and prevented by this Court’s action upon this Complaint.
11                                            PARTIES
12                10.     Plaintiff California Grocers Association has served as the voice of
13   the state’s grocery community for over 120 years. As a nonprofit, statewide trade
14   association, CGA’s membership is comprised of over 300 retailers and
15   approximately 150 grocery supply companies. As part of its mission, CGA has
16   advocated on behalf of its member retailers on important policy issues.
17   Headquartered in Sacramento, California, CGA brings this action on behalf of its
18   members operating stores in the City of Long Beach.
19                11.     Defendant, City of Long Beach, is and at all relevant times has
20   been a public entity duly organized and existing under and by virtue of the laws of
21   the State of California as a charter municipality.
22                                  FACTUAL BACKGROUND
23                12.     California Grocers Association pursues this action on behalf of its
24   members who are grocery store employers (“Members”) because the employers
25   who operate grocery stores in Long Beach will suffer a direct and adverse impact
26   from the application of the Ordinance, and thus would have standing to pursue
27   these claims in their own right. The policy and legal interest CGA seeks to protect
28   is at the core of Plaintiff’s mission, and the injunctive and declaratory relief sought
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 1   does not require the participation of individual members.
 2                13.   Several Members operate grocery stores in the City that employ
 3   members of a specific labor union, United Commercial Food Workers International,
 4   Local 324 (“UCFW 324”), and those employees are parties to collective bargaining
 5   agreements that govern the terms of their employment, including wage scales.
 6   Other Members operate grocery stores that do not employ unionized workers, but
 7   those employees are free to organize and select a collective bargaining unit, should
 8   they choose to do so.
 9                14.   Members have suffered or will continue to suffer economic and
10   non-economic harm as a result of the enactment of the Ordinance, and its
11   foreseeable consequences on union organizing, ongoing collective bargaining, and
12   labor relations for both unionized and non-union grocery stores in the City of Long
13   Beach. Members are required to alter the wage scales and other terms of their
14   existing collective bargaining agreements, regardless of any additional hero pay,
15   bonuses, or other non-monetary compensation provided to their employees to ease
16   the burden of the COVID-19 pandemic.
17                15.   The Ordinance also prohibits an employer from taking any action
18   related to the Ordinance that could impact any employee’s “earning capacity,”
19   effectively preventing the employer from taking any action to control labor costs,
20   despite the government-mandated wage increases. Failure to immediately comply
21   with the Ordinance will expose the Members to civil sanctions, loss of goodwill,
22   and other irreparable harm.
23                16.   UCFW 324 sponsored this Ordinance. Both UCFW 324 and the
24   national UCFW organization have been active in promoting and negotiating with
25   employers for hero pay. Over the last two months, the national UCFW has made
26   numerous statements in the press that hazard pay bonuses and other compensation
27   are appropriate topics for bargaining, even announcing recent “victories” in
28   negotiations with other grocery retailers in California, New Jersey, New York, and
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 1   around the country where employers have agreed to pay supplemental hazard pay
 2   premiums, some of which are being paid currently. For example, CGA Member
 3   Stater Brothers has one location in Long Beach, and agreed in December to pay
 4   $2/hour as a hazard pay premium to certain employees.
 5                17.   By design, the Ordinance picks winners and losers. It singles out
 6   large grocery companies with unionized workforces (i.e., UCFW 324’s members)
 7   without providing any reasonable justification for the exclusion of other employers
 8   or frontline retail workers. The Ordinance arbitrarily and improperly targets certain
 9   grocery store businesses in Long Beach for disparate treatment while not requiring
10   the same commitments from similarly situated businesses, or conferring any
11   benefits on similarly situated employees. There is no support for any of the City’s
12   statements that the Premium Pay will protect public health, address economic
13   insecurity, and promote job retention.
14                                     THE ORDINANCE
15                18.   The Premium Pay for Grocery Workers Ordinance codified in
16   Chapter 5.91 in the Long Beach Municipal Code is attached hereto as Exhibit A. It
17   applies to “grocery stores” which is defined as a store that devotes seventy percent
18   (70%) or more of its business to retailing a general range of food products, which
19   may be fresh or packaged. Section 5.91.020. Specifically, the ordinance applies to
20   those grocery store “hiring entit[ies]” that employ three hundred (300) or more
21   grocery workers nationally and employ more than fifteen (15) employees per
22   grocery store in the City of Long Beach. Section 5.91.040.
23                19.   Grocery stores meeting this minimum threshold of employees are
24   required to provide each employee with premium pay consisting of an additional
25   four dollars ($4.00) per hour for each hour worked. Section 5.91.050. The
26   Ordinance is set to expire in 120 days. Id.
27                20.   The Ordinance prohibits reducing a grocery employee’s
28   compensation or limiting a grocery employee’s earning capacity unless the
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  1   employer can prove the decision would have happened in absence of the Ordinance.
  2   Section 5.91.060.
  3                21.   Grocery stores are required to provide a notice of rights established
  4   by the Ordinance. Section 5.91.070.
  5                                FIRST CAUSE OF ACTION
  6                              Declaratory and Injunctive Relief
  7                                     (NLRA Preemption)
  8                22.   CGA incorporates herein by this reference the allegations contained
  9   in Paragraphs 1 through 21, inclusive.
 10                23.   Enacted in 1935, the National Labor Relations Act (“NLRA”), as
 11   amended, 29 U.S.C. § 151, et seq., creates a uniform federal body of law governing
 12   union organizing, collective bargaining, and labor-management relations applicable
 13   to employers engaged in interstate commerce. It established various rules
 14   concerning collective bargaining and defined a series of banned unfair labor
 15   practices, including bans on interference with the formation or organization of labor
 16   unions by employers. The NLRA does not apply to certain workers, including
 17   supervisors, managerial employees and confidential employees – all categories
 18   specifically excluded from the Ordinance.
 19                24.   The NLRA prohibits state and local regulation of conduct that
 20   Congress intended to be left to be controlled by the free-play of economic forces.
 21   Legislation that interferes with the “balanced state of collective bargaining” is
 22   preempted by the NLRA. See Machinists v. Wisconsin Employment Relations
 23   Comm’n, 427 U.S. 132 (1976).
 24                25.   In particular, the NLRA preempts any and all state and local
 25   enactments that, by design or consequence, regulate or interfere with the then-
 26   existing balance of economic power between labor and management with respect to
 27   zones of activity that, under federal labor law, are intended to be left to the free play
 28   of economic forces. Laws subject to NLRA preemption include laws that interfere
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  1   with or attempt to regulate the economic tools available to labor or management
  2   during the course of collective bargaining or that otherwise interfere with the
  3   collective bargaining process, such as those that alter the parties’ rights and
  4   economic alternatives during collective bargaining, or the processes and procedures
  5   utilized for union organizing.
  6                26.   Application of the Ordinance to the activities of the Long Beach
  7   Members unequivocally intrudes upon zones of activity in the areas of labor
  8   relations, union organizing, and collective bargaining that is reserved under federal
  9   labor law and policy to the free play of economic forces. The Ordinance establishes
 10   premium pay standards that, by design or consequence, empower the UFCW or
 11   other collective bargaining units to secure a wage rate they could not otherwise
 12   have obtained from the employer at a unionized or non-union grocery store. This
 13   undermines the collective bargaining process and disrupts the process of union
 14   organizing.
 15                27.   While the City has the ability to enact ordinances to further the
 16   health and safety of its citizens, the Ordinance here bears no relation to those goals.
 17   Local minimum wage laws, for example, seek to lessen the burden on public
 18   welfare services. This ordinance is not a minimum labor standard. It is a mandatory
 19   hourly bonus for a specific group of workers, regardless of the wage negotiated in
 20   the current collective bargaining agreements or other employment agreements.
 21                28.   The Ordinance is preempted by the NLRA as it regulates zones of
 22   activity that Congress intentionally left to be controlled by the free play of
 23   economic forces.
 24                29.   The City’s application and enforcement of the Ordinance will cause
 25   CGA’s Members to suffer irreparable harm for which they have no adequate
 26   remedy at law, even if the Ordinance is later declared by this Court to be void and
 27   unenforceable. This claim is also brought pursuant to 42 U.S.C. §1983 and
 28   §1988(b).
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  1                30.   CGA is entitled to judgment declaring the Ordinance to be void and
  2   unenforceable under the Supremacy Clause of the U.S. Constitution and equitable
  3   and injunctive relief to prevent the City of Long Beach or any other private enforcer
  4   from attempting to enforce or give effect to the Ordinance.
  5                              SECOND CAUSE OF ACTION
  6                              Declaratory and Injunctive Relief
  7                (Equal Protection Clause of the United States Constitution)
  8                31.   CGA incorporates herein by this reference the allegations contained
  9   in Paragraphs 1 through 30, inclusive.
 10                32.   CGA hereby seeks declaratory, equitable and injunctive relief to
 11   prevent the City from depriving Plaintiff’s members of the protections afforded to
 12   them under the Equal Protection Clause of the U.S. Constitution, which guarantee
 13   each and all of them equal protection of the laws. (U.S. Const., Amend. XIV, § 1).
 14   This claim is also brought pursuant to 42 U.S.C. §1983 and §1988(b).
 15                33.   The Equal Protection Clause requires that persons who are similarly
 16   situated receive like treatment under the law, and that statutes may single out a class
 17   for distinction only if that classification bears a rational relationship to the purpose
 18   of the statute. As such, the City may not irrationally single out one class of
 19   individuals for discriminatory treatment.
 20                34.   The Ordinance improperly singles out certain grocery store
 21   businesses in Long Beach for disparate treatment while not requiring the same
 22   treatment of similarly situated businesses. More importantly, the ordinance
 23   implicates the Members’ fundamental right to be free from unreasonable
 24   governmental interference with their contracts, specifically their collective
 25   bargaining agreements and other employment agreements.
 26                35.   The stated purpose of the Ordinance, namely, to protect public
 27   health, address economic insecurity, and promote job retention during the COVID-
 28   19 emergency by requiring grocery stores to provide premium pay is not rationally
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  1   related to the discriminatory treatment of CGA’s Members. No significant and
  2   legitimate public purpose exists for the Ordinance. The City’s stated objectives are
  3   merely an attempt to impose a public policy rationale on interest-group driven
  4   legislation for labor unions and, in particular, for UFCW 324.
  5                36.   By virtue of the foregoing, application of the Ordinance to the
  6   CGA’s Members within the City violates the equal protection guarantees of the
  7   U.S. Constitution.
  8                37.   The City’s application and enforcement of the Ordinance will cause
  9   Plaintiff’s members to suffer irreparable harm for which they have no adequate
 10   remedy at law, even if the Ordinance is later declared by this Court to be void and
 11   unenforceable.
 12                                 THIRD CAUSE OF ACTION
 13                                Declaratory and Injunctive Relief
 14                  (Equal Protection Clause of the California Constitution)
 15                38.   CGA incorporates herein by this reference the allegations contained
 16   in Paragraphs 1 through 37, inclusive.
 17                39.   CGA hereby seeks declaratory, equitable and injunctive relief to
 18   prevent the City from depriving CGA’s members of the protections afforded to
 19   them under the Equal Protection Clause of the California Constitution, which like
 20   the U.S. Constitution, guarantees each and all of them equal protection of the laws.
 21   (Cal. Const., Art. I § 7.)
 22                40.   For the same reasons set forth in Paragraphs 31 through 37 above,
 23   the Ordinance violates the Equal Protection Clause of the California. Such
 24   application will cause CGA’s Members to suffer irreparable harm for which they
 25   have no adequate remedy at law.
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  1                              FOURTH CAUSE OF ACTION
  2                           For Declaratory and Injunctive Relief
  3                         (Contracts Clause of the U.S. Constitution)
  4                41.   CGA incorporates herein by this reference the allegations contained
  5   in Paragraphs 1 through 40, inclusive.
  6                42.   CGA hereby seeks declaratory, equitable and injunctive relief to
  7   prevent the City from depriving CGA’s Members of the protections afforded to
  8   them under the Contracts Clause of the U.S. Constitution, which provides in
  9   pertinent part that: “No State shall . . . pass any . . . Law impairing the Obligation of
 10   Contracts . . . .” (U.S. Const., Art. I, § 10, cl. 1). The Contract Clause imposes
 11   limits upon the power of a State, and Municipalities operating under the color of
 12   State law, to abridge existing contractual relationships, even in the exercise of its
 13   otherwise legitimate police power.
 14                43.   The Ordinance substantially interferes with Members’ contracts,
 15   including its collective bargaining agreements with its employees, without any
 16   significant or legitimate public purpose. The City’s stated objectives are to protect
 17   public health, address economic insecurity, and promote job retention. None of
 18   these justifications support this measure, because the City’s stated objectives are
 19   merely an attempt to impose a public policy rationale on interest-group driven
 20   legislation for labor unions and, in particular, for UFCW.
 21                44.   Even if the City could show a significant and legitimate public
 22   purpose behind the regulation, the substantial impairment to the Members’
 23   contractual rights and obligations (i.e., the terms of the Members’ existing
 24   collective bargaining agreements) are neither reasonable nor necessary to fulfill any
 25   such public purpose.
 26                45.   By virtue of the foregoing, application of the Ordinance to CGA’s
 27   members constitutes a substantial and unconstitutional impairment of those
 28   members existing contractual relationships that will cause them to suffer irreparable
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  1   harm for which they have no adequate remedy at law.
  2                                FIFTH CAUSE OF ACTION
  3                              Declaratory and Injunctive Relief
  4                      (Contracts Clause of the California Constitution)
  5                46.   CGA incorporate herein by this reference the allegations contained
  6   in Paragraphs 1 through 45, inclusive. Plaintiffs hereby seek declaratory and
  7   injunctive relief to prevent the City from violating, and continuing to violate, the
  8   Contract Clause of the California Constitution, which provides in pertinent part
  9   that: “A ... law impairing the obligation of contracts may not be passed.” (Cal.
 10   Const., Art. I, § 9.)
 11                47.   Like the Federal Contracts Clause, the California Contracts Clause
 12   also imposes limits upon the State of California, and its municipalities, to abridge
 13   existing contractual relationships, even in the exercise of its otherwise legitimate
 14   police power. For the same reasons set forth in Paragraphs 41 through 45 above,
 15   application of the Ordinance to CGA’s members within the City constitutes a
 16   substantial and unconstitutional impairment of those members existing contractual
 17   relationship in violation of the California Contract Clause. Such application will
 18   cause those members to suffer irreparable harm for which they have no adequate
 19   remedy at law.
 20                                  PRAYER FOR RELIEF
 21          WHEREFORE, Plaintiff prays for the following relief:
 22           1.         On the first cause of action, a judgment declaring that the
 23   Ordinance, as well as any act taken in furtherance of the Ordinance by any person,
 24   is preempted by the National Labor Relations Act, and its implementing regulations
 25   and guidance, and are therefore void and unenforceable, and entering a preliminary
 26   and permanent injunction enjoining the City from enforcing or taking any action
 27   under the Ordinance;
 28
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  1             2.       On the second and third causes of action, enter a judgment declaring
  2   that the Ordinance, as well as any act taken in furtherance of the Ordinance by any
  3   person, violate state and federal equal protection guarantees, and are therefore void
  4   and invalid, and entering a preliminary and permanent injunction enjoining the City
  5   from enforcing or taking any action under the Ordinance;
  6             3.       On the fourth and fifth causes of action, enter a judgment declaring
  7   that the Ordinance, as well as any act taken in furtherance of the Ordinance by any
  8   person, violate the contracts clauses of the state and federal constitution, and are
  9   therefore void and invalid, and entering a preliminary and permanent injunction
 10   enjoining the City from enforcing or taking any action under the Ordinance;
 11             4.      For an award of attorneys’ fees and costs of suit herein pursuant to
 12   California Code of Civil Procedure § 1021.5, 42 U.S.C. §1988, or any other
 13   applicable law; and
 14             5.      For such other and further relief as the Court may deem just and
 15   proper.
 16
      Dated:         January 20, 2021            MORRISON & FOERSTER LLP
 17
 18
 19
                                                 By:
 20                                                    William F. Tarantino
 21                                                    Attorneys for Plaintiff
 22                                                    CALIFORNIA GROCERS
                                                       ASSOCIATION
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                                    1                                            ORDINANCE NO.

                                    2

                                    3                                  AN ORDINANCE OF THE CITY COUNCIL OF THE

                                    4                        CITY OF LONG BEACH AMENDING THE LONG BEACH

                                    5                        MUNICIPAL CODE BY ADDING CHAPTER 5.91, RELATING

                                    6                        TO      GROCERY             WORKERS   IN   LONG   BEACH,   AND

                                    7                        ESTABLISHING LABOR STANDARDS REQUIREMENTS

                                    8                        FOR PREMIUM PAY FOR GROCERY WORKERS WORKING

                                    9                        IN LONG BEACH; DECLARING THE URGENCY THEREOF;

                                    10                       AND DECLARING THAT THIS ORDINANCE SHALL TAKE

                                    11                       EFFECT IMMEDIATELY

                                    12
OFFICE OF THE CITY ATTORNEY

411 W. Ocean Boulevard, 9th Floor
 CHARLES PARKIN, City Attorney




                                                             WHEREAS, the new coronavirus 19 (COVID-19) disease is caused by a
     Long Beach, CA 90802




                                    13

                                    14   virus that spreads easily from person to person and may result in serious illness or death,

                                    15   and is classified by the World Health Organization (WHO) as a worldwide pandemic; and

                                    16                       WHEREAS, COVID-19 has broadly spread throughout California and

                                    17   remains a significant health risk to the community, especially members of our most

                                    18   vulnerable populations; and

                                    19                       WHEREAS, the World Health Organization has declared that COVID-19 is

                                    20   a global pandemic, which is particularly severe in high risk populations such as people

                                    21   with underlying medical conditions and the elderly, and the WHO has raised the health

                                    22   emergency to the highest level, requiring dramatic interventions to disrupt the spread of

                                    23   this disease; and

                                    24                       WHEREAS, on March 4, 2020, California Governor Gavin Newsom

                                    25   proclaimed a state of emergency in response to new cases of COVID-19, directing state

                                    26   agencies to use all resources necessary to prepare for and respond to the outbreak; and

                                    27                       WHEREAS, on March 4, 2020, the City of Long Beach Public Health Office

                                    28   issued orders temporarily shutting down restaurants, bars, and other entertainment and

                                                                                               1
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                                    1    food establishments, except for take-out food; and

                                    2                        WHEREAS, on March 10, 2020, the City Council of the City of Long Beach

                                    3    proclaimed a civil emergency in response to new cases of COVID-19, authorizing the City

                                    4    Manager to exercise the emergency powers necessary to take extraordinary measures to

                                    5    prevent death or injury of persons and to protect the public peace, safety and welfare,

                                    6    and alleviate damage, loss, hardship or suffering; and

                                    7                        WHEREAS, on March 19, 2020, California Governor Gavin Newsom issued

                                    8    a “Stay Home – Stay Healthy” proclamation closing all non-essential workplaces,

                                    9    requiring people to stay home except to participate in essential activities or to provide

                                    10   essential business services, and banning all gatherings for social, spiritual, and

                                    11   recreational purposes. In addition to healthcare, public health and emergency services,

                                    12   the “Stay Home – Stay Healthy” proclamation identified grocery stores as essential
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                                         business sectors critical to protecting the health and well-being of all Californians and
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                                    13

                                    14   designated their workers as essential critical infrastructure workers; and

                                    15                       WHEREAS, on March 24, 2020, in order to mitigate the effects of COVID-

                                    16   19 within the City of Long Beach, the Long Beach Health Officer issued the “Safer at

                                    17   Home” Order to control the affects and spread of COVID-19 by closing all non-essential

                                    18   workplaces, requiring people to stay home except to participate in essential activities or

                                    19   to provide essential business services, and banning all gatherings for social, spiritual, and

                                    20   recreational purposes. In addition to healthcare, public health and emergency services,

                                    21   the “Safer at Home” Order identified grocery stores as essential business sectors critical

                                    22   to protecting the health and well-being of all Californians and designated their workers as

                                    23   essential critical infrastructure workers; and

                                    24                       WHEREAS, on December 3, 2020, California Governor Gavin Newsom

                                    25   extended the “Stay Home – Stay Healthy” proclamation; and

                                    26                       WHEREAS, on December 3, 2020, in order to mitigate the effects of

                                    27   COVID-19 within the City of Long Beach, the Long Beach Health Officer extended the

                                    28   “Safer at Home” Order to control the affects and spread of COVID-19; and

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                                    1                        WHEREAS, as of January 5, 2021, the World Health Organization Situation

                                    2    Report reported a global total of 86,833,481 cases of COVID-19, including 1,875,460

                                    3    deaths; California reported 2,490,000 cases of COVID-19, including 27,038 deaths; and

                                    4    Long Beach reported 35,664 cases of COVID-19, including 420 deaths; and

                                    5                        WHEREAS, grocery stores are essential businesses operating in Long

                                    6    Beach during the COVID-19 emergency making grocery workers highly vulnerable to

                                    7    economic insecurity and health or safety risks; and

                                    8                        WHEREAS, grocery workers working for grocery stores are essential

                                    9    workers who perform services that are fundamental to the economy and health of the

                                    10   community during the COVID-19 crisis. They work in high risk conditions with inconsistent

                                    11   access to protective equipment and other safety measures; work in public situations with

                                    12   limited ability to engage in physical distancing; and continually expose themselves and
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                                         the public to the spread of disease; and
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                                    14                       WHEREAS, premium pay, paid in addition to regular wages, is an

                                    15   established type of compensation for employees performing hazardous duty or work

                                    16   involving physical hardship that can cause extreme physical discomfort and distress; and

                                    17                       WHEREAS, grocery workers working during the COVID-19 emergency

                                    18   merit additional compensation because they are performing hazardous duty due to the

                                    19   significant risk of exposure to the COVID-19 virus. Grocery workers have been working

                                    20   under these hazardous conditions for months. They are working in these hazardous

                                    21   conditions now and will continue to face safety risks as the virus presents an ongoing

                                    22   threat for an uncertain period, potentially resulting in subsequent waves of infection; and

                                    23                       WHEREAS, the availability of grocery stores is fundamental to the health of

                                    24   the community and is made possible during the COVID-19 emergency because grocery

                                    25   workers are on the frontlines of this devastating pandemic supporting public health,

                                    26   safety, and welfare by working in hazardous situations; and

                                    27                       WHEREAS, establishing an immediate requirement for grocery stores to

                                    28   provide premium pay to grocery workers protects public health, supports stable incomes,

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                                    1    and promotes job retention by ensuring that grocery workers are compensated for the

                                    2    substantial risks, efforts, and expenses they are undertaking to provide essential services

                                    3    in a safe and reliable manner during the COVID-19 emergency.

                                    4                        NOW, THEREFORE, the City Council of the City of Long Beach ordains as

                                    5    follows:

                                    6                        Section 1.          The Long Beach Municipal Code is amended by adding

                                    7    Chapter 5.91 to read as follows:

                                    8                                                    CHAPTER 5.91

                                    9                                    PREMIUM PAY FOR GROCERY WORKERS

                                    10

                                    11             5.91.005            Purpose.

                                    12                       As a result of the COVID-19 pandemic and the “Stay at Home” order
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                                                   issued by California Governor Gavin Newsom and the “Safer at Home” order
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                                    14             issued by the City of Long Beach, this Ordinance aims to protect and

                                    15             promote the public health, safety, and welfare during the new coronavirus 19

                                    16             (COVID-19) emergency by requiring grocery stores to provide premium pay

                                    17             for grocery workers performing work in Long Beach. Requiring grocery

                                    18             stores to provide premium pay to grocery workers compensates grocery

                                    19             workers for the risks of working during a pandemic. Grocery workers face

                                    20             magnified risks of catching or spreading the COVID-19 disease because the

                                    21             nature of their work involves close contact with the public, including

                                    22             members of the public who are not showing symptoms of COVID-19 but

                                    23             who can spread the disease. The provision of premium pay better ensures

                                    24             the retention of these essential workers who are on the frontlines of this

                                    25             pandemic providing essential services and who are needed throughout the

                                    26             duration of the COVID-19 emergency. As such, they are deserving of fair

                                    27             and equitable compensation for their work.

                                    28   //

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                                    1              5.91.010            Short title.

                                    2                        This ordinance shall constitute the “Premium Pay for Grocery

                                    3              Workers Ordinance” and may be cited as such.

                                    4

                                    5              5.91.020            Definitions.

                                    6                        For purposes of this Ordinance:

                                    7                        “Adverse action” means reducing the compensation to a grocery

                                    8              worker, garnishing gratuities, temporarily or permanently denying or limiting

                                    9              access to work, incentives, or bonuses, offering less desirable work,

                                    10             demoting, terminating, deactivating, putting a grocery worker on hold status,

                                    11             failing to rehire after a seasonal interruption of work, threatening, penalizing,

                                    12             retaliating, or otherwise discriminating against a covered grocery worker for
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                                                   any reason prohibited by Section 5.91.090.
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                                    13

                                    14                       “Adverse action” also encompasses any action by the hiring entity or a

                                    15             person acting on the hiring entity’s behalf that would dissuade a grocery

                                    16             worker from exercising any right afforded by this ordinance.

                                    17                       “Aggrieved party” means a grocery worker or other person who suffers

                                    18             tangible or intangible harm due to a hiring entity or other person's violation of

                                    19             this ordinance.

                                    20                       “City” means the City of Long Beach.

                                    21                       “Covered grocery worker” means a grocery worker employed directly

                                    22             by a hiring entity who is entitled to premium pay pursuant to this Ordinance.

                                    23                       “Grocery worker” means a worker employed directly by a hiring entity

                                    24             at a grocery store. Grocery worker does not include managers, supervisors

                                    25             or confidential employees.

                                    26                       “Grocery store” means a store that devotes seventy percent (70%) or

                                    27             more of its business to retailing a general range of food products, which may

                                    28             be fresh or packaged. There is a rebuttable presumption that if a store

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                                    1              receives seventy percent (70%) or more revenue from retailing a general

                                    2              range of food products, then it qualifies as a grocery store.

                                    3                        “Hiring entity” means a grocery store that employs over three hundred

                                    4              (300) grocery workers nationally and employs more than fifteen (15)

                                    5              employees per grocery store in the City of Long Beach.

                                    6                        “Premium pay” means additional compensation owed to a grocery

                                    7              worker that is separate from hiring entity payments for providing services,

                                    8              bonuses, and commissions, as well as tips earned from customers.

                                    9                        “Respondent” means a grocery store, parent company or any person

                                    10             who is alleged or found to have committed a violation of this Ordinance.

                                    11

                                    12             5.91.030            Grocery worker coverage.
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                                                             For the purposes of this Ordinance, covered grocery workers are
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                                    13

                                    14             limited to those who perform work for a hiring entity where the work is

                                    15             performed in the City of Long Beach.

                                    16

                                    17             5.91.040            Hiring entity coverage.

                                    18                       A.        For purposes of this Ordinance, hiring entities are limited to

                                    19             those who employ three hundred (300) or more grocery workers nationally

                                    20             and employ more than fifteen (15) employees per grocery store in the City of

                                    21             Long Beach.

                                    22                       B.        To determine the number of grocery workers employed for the

                                    23             current calendar year:

                                    24                                 1.        The calculation is based upon the average number per

                                    25             calendar week of grocery workers who worked for compensation during the

                                    26             preceding calendar year for any and all weeks during which at least one (1)

                                    27             grocery worker worked for compensation. For hiring entities that did not have

                                    28             any grocery workers during the preceding calendar year, the number of

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                                    1              grocery workers employed for the current calendar year is calculated based

                                    2              upon the average number per calendar week of grocery workers who worked

                                    3              for compensation during the first ninety (90) calendar days of the current year

                                    4              in which the hiring entity engaged in business.

                                    5                                  2.        All grocery workers who worked for compensation shall

                                    6              be counted, including but not limited to:

                                    7                                            a. Grocery workers who are not covered by this
                                    8              Ordinance; and
                                    9                                            b. Grocery workers who worked in Long Beach.
                                    10

                                    11             5.91.050            Premium pay requirement.
                                    12
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                                                             A.        Hiring entities shall provide each grocery worker with premium
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                                    13             pay consisting of an additional Four Dollars ($4.00) per hour for each hour
                                    14             worked.
                                    15                       B.        Hiring entities shall provide the pay required by Subsection
                                    16             5.91.050 (A) for a minimum of one hundred twenty (120) days from the
                                    17             effective date of this Ordinance.
                                    18                       C.        Unless extended by City Council, this ordinance shall expire in
                                    19             one hundred twenty (120) days.
                                    20

                                    21             5.91.060            Grocery worker and consumer protections.
                                    22                       A.        No hiring entity shall, as a result of this Ordinance going into
                                    23             effect, take any of the following actions:
                                    24                                 1.        Reduce a grocery worker’s compensation;
                                    25                                 2.        Limit a grocery worker’s earning capacity.
                                    26                       B.        It shall be a violation if this Ordinance is a motivating factor in
                                    27             a hiring entity’s decision to take any of the actions in Subsection 5.91.060
                                    28             (A) unless the hiring entity can prove that its decision to take the action(s)

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                                    1              would have happened in the absence of this Ordinance going into effect.

                                    2

                                    3              5.91.070            Notice of rights.

                                    4                        A.        Hiring entities shall provide covered grocery workers with a

                                    5              written notice of rights established by this ordinance. The notice of rights

                                    6              shall be in a form and manner sufficient to inform grocery workers of their

                                    7              rights under this ordinance. The notice of rights shall provide information on:

                                    8                                  1.        The right to premium pay guaranteed by this Ordinance;

                                    9                                  2.        The right to be protected from retaliation for exercising

                                    10             in good faith the rights protected by this ordinance; and

                                    11                                 3.        The right to bring a civil action for a violation of the

                                    12             requirements of this Ordinance, including a hiring entity’s denial of premium
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                                                   pay as required by this Ordinance and a hiring entity or other person's
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                                    13

                                    14             retaliation against a covered grocery worker or other person for asserting

                                    15             the right to premium pay or otherwise engaging in an activity protected by

                                    16             this ordinance.

                                    17                       B.        Hiring entities shall provide the notice of rights required by

                                    18             posting a written notice of rights in a location of the grocery store utilized by

                                    19             employees for breaks, and in an electronic format that is readily accessible

                                    20             to the grocery workers. The notice of rights shall be made available to the

                                    21             grocery workers via smartphone application or an online web portal, in

                                    22             English and any language that the hiring entity knows or has reason to know

                                    23             is the primary language of the grocery worker(s).

                                    24

                                    25             5.91.080            Hiring entity records.

                                    26                       A.        Hiring entities shall retain records that document compliance

                                    27             with this Ordinance for covered grocery workers.

                                    28                       B.        Hiring entities shall retain the records required by Subsection

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                                    1              5.91.080 (A) for a period of two (2) years.

                                    2                        C.        If a hiring entity fails to retain adequate records required under

                                    3              Subsection 5.91.080 (A), there shall be a presumption, rebuttable by clear

                                    4              and convincing evidence, that the hiring entity violated this Ordinance for

                                    5              each covered grocery worker for whom records were not retained.

                                    6

                                    7              5.91.090            Retaliation prohibited.

                                    8                        No hiring entity employing a grocery worker shall discharge, reduce

                                    9              in compensation, or otherwise discriminate against any grocery worker for

                                    10             opposing any practice proscribed by this Ordinance, for participating in

                                    11             proceedings related to this Ordinance, for seeking to exercise their rights

                                    12             under this Ordinance by any lawful means, or for otherwise asserting rights
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                                                   under this Ordinance.
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                                    13

                                    14

                                    15             5.91.100            Violation.

                                    16                       The failure of any respondent to comply with any requirement

                                    17             imposed on the respondent under this Ordinance is a violation.

                                    18

                                    19             5.91.110            Remedies.

                                    20                       A.        The payment of unpaid compensation, liquidated damages,
                                    21             civil penalties, penalties payable to aggrieved parties, fines, and interest
                                    22             provided under this Ordinance is cumulative and is not intended to be
                                    23             exclusive of any other available remedies, penalties, fines, and procedures.
                                    24                       B.        A respondent found to be in violation of this Ordinance for
                                    25             retaliation under Section 5.91.090 shall be subject to any appropriate relief at
                                    26             law or equity including, but not limited to reinstatement of the aggrieved
                                    27             party, front pay in lieu of reinstatement with full payment of unpaid
                                    28             compensation plus interest in favor of the aggrieved party under the terms of

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                                    1              this Ordinance, and liquidated damages in an additional amount of up to

                                    2              twice the unpaid compensation.

                                    3

                                    4              5.91.120            Private right of action.

                                    5                        A.        Any covered grocery worker that suffers financial injury as a

                                    6              result of a violation of this Ordinance, or is the subject of prohibited

                                    7              retaliation under Section 5.91.090, may bring a civil action in a court of

                                    8              competent jurisdiction against the hiring entity or other person violating this

                                    9              Ordinance and, upon prevailing, may be awarded reasonable attorney fees

                                    10             and costs and such legal or equitable relief as may be appropriate to remedy

                                    11             the violation including, without limitation: the payment of any unpaid

                                    12             compensation plus interest due to the person and liquidated damages in an
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                                                   additional amount of up to twice the unpaid compensation; and a reasonable
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                                    13

                                    14             penalty payable to any aggrieved party if the aggrieved party was subject to

                                    15             prohibited retaliation.

                                    16

                                    17             5.91.130            Encouragement of more generous policies.

                                    18                       A.        Nothing in this Ordinance shall be construed to discourage or

                                    19             prohibit a hiring entity from the adoption or retention of premium pay policies

                                    20             more generous than the one required herein.

                                    21                       B.        Nothing in this Ordinance shall be construed as diminishing

                                    22             the obligation of a hiring entity to comply with any contract or other

                                    23             agreement providing more generous protections to a grocery worker than

                                    24             required by this Ordinance.

                                    25

                                    26             5.91.140            Other legal requirements.
                                    27                       This Ordinance provides minimum requirements for premium pay
                                    28             while working for a hiring entity during the COVID-19 emergency and shall

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                                    1              not be construed to preempt, limit, or otherwise affect the applicability of any

                                    2              other law, regulation, requirement, policy, or standard that provides for

                                    3              higher premium pay, or that extends other protections to grocery workers;

                                    4              and nothing in this Ordinance shall be interpreted or applied so as to create

                                    5              any power or duty in conflict with federal or state law. Nothing in this

                                    6              Section shall be construed as restricting a grocery worker’s right to pursue

                                    7              any other remedies at law or equity for violation of their rights.

                                    8

                                    9              5.91.150            Severability.

                                    10                       The provisions of this Ordinance are declared to be separate and

                                    11             severable. If any clause, sentence, paragraph, subdivision, section,

                                    12             subsection, or portion of this ordinance, or the application thereof to any
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                                                   hiring entity, grocery worker, person, or circumstance, is held to be invalid, it
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                                    13

                                    14             shall not affect the validity of the remainder of this Ordinance, or the validity

                                    15             of its application to other persons or circumstances.

                                    16

                                    17                       Section 2.          Declaration of Urgency. This Ordinance is urgently required

                                    18   to provide economic relief to grocery workers in light of the COVID-19 pandemic and

                                    19   related state and local “Safer at Home” health orders limiting business operations. For

                                    20   these reasons, the establishment of labor standard requirements for premium pay for

                                    21   grocery workers working in Long Beach is immediately necessary.

                                    22

                                    23                       Section 3.          This Ordinance is an emergency Ordinance duly adopted by

                                    24   the City Council by a vote of five (5) of its members and shall take effect immediately.

                                    25   The City Clerk shall certify to a separate roll call and vote on the question of the

                                    26   emergency of this Ordinance and to its passage by the vote of five (5) members of the

                                    27   City Council of the City of Long Beach, and cause the same to be posted in three (3)

                                    28   conspicuous places in the City of Long Beach, and it shall thereupon take effect and shall

                                                                                                11
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                                    1    be operative immediately.

                                    2

                                    3                        Section 4.          This Ordinance shall also be adopted by the City Council as a

                                    4    regular ordinance, to the end that in the event of any defect or invalidity in connection

                                    5    with the adoption of this Ordinance as an emergency Ordinance, the same shall,

                                    6    nevertheless, be and become effective on the thirty-first (31st) day after it is approved by

                                    7    the Mayor. The City Clerk shall certify to the passage of this Ordinance by the City

                                    8    Council of the City of Long Beach and shall cause the same to be posted in three (3)

                                    9    conspicuous places in the City of Long Beach.

                                    10                       I hereby certify that on a separate roll call and vote which was taken by the

                                    11   City Council of the City of Long Beach upon the question of emergency of this Ordinance

                                    12   at its meeting of                               , 20___, the Ordinance was declared to be an
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                                         emergency by the following vote:
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                                    13

                                    14              Ayes:                  Councilmembers:

                                    15

                                    16

                                    17              Noes:                  Councilmembers:
                                    18

                                    19              Absent:                Councilmembers:
                                    20

                                    21              Recusal(s)             Councilmembers:
                                    22

                                    23

                                    24

                                    25                       I further certify that thereafter, at the same meeting, upon a roll call and

                                    26   vote on the adoption of the Ordinance, it was adopted by the City Council of the City of

                                    27   Long Beach by the following vote:

                                    28   //

                                                                                                12
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                                    1
                                                    Ayes:                  Councilmembers:
                                    2

                                    3

                                    4
                                                    Noes:                  Councilmembers:
                                    5

                                    6
                                                    Absent:                Councilmembers:
                                    7

                                    8
                                                    Recusal(s)             Councilmembers:
                                    9

                                    10

                                    11                       I further certify that the foregoing Ordinance was thereafter adopted on final
                                    12
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                                         reading by the City Council of the City of Long Beach at its meeting of                          ,
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                                    13   20___, by the following vote:
                                    14              Ayes:                  Councilmembers:
                                    15

                                    16

                                    17
                                                    Noes:                  Councilmembers:
                                    18

                                    19
                                                    Absent:                Councilmembers:
                                    20

                                    21
                                                    Recusal(s)             Councilmembers:
                                    22

                                    23

                                    24

                                    25                                                                         City Clerk

                                    26

                                    27   Approved:
                                    28                                (Date)                                     Mayor

                                                                                             13
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